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KSC/07_ 12.21
JGW/ICM-USA0#2021R00195

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

CRIMINAL NO. OKs u or 201

UNITED STATES OF AMERICA *
*
v. *
* (Conspiracy to distribute and possess
PHILIP WELDON, * with intent to distribute one kilogram or
* more of heroin 21 U.S.C. § 846)
Defendant. * -, .
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The Grand Jury for the District of Maryland charges that: ae oom << Se
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Beginning in or before January of 2021, and continuing until in or about July of

2021, in the District of Maryland, Texas, West Virginia and elsewhere
PHILIP WELDON,
the defendant herein, did knowingly and willfully combine, conspire, confederate, and agree with
other persons known and unknown to the Grand Jury, to knowingly and intentionally distribute
and possess with the intent to distribute one kilogram or more of a mixture or substance

containing a detectable amount of heroin, a Schedule I Controlled Substance

21 U.S.C. § 846

Jonathan F. Lenzner Gi
Acting United States Comey
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A TRUE BILL: _

SIGNATURE REDACTED

 

Foreperson

savy

 

Date
